Case 2:11-cr-00120-JLB-CM Document 342 Filed 06/09/15 Page 1 of 4 PageID 1091




                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                            FORT MYERS DIVISION

UNITED STATES OF AMERICA

VS.                                          CASE NO: 2:11-cr-120-FtM-29CM

GUSTAVO ADOLPHO LEON

                                   OPINION AND ORDER

      This matter comes before the Court on the Motion by the United

States for Reduction in Sentence Pursuant to Fed. R. Crim. P. 35(b)

(Doc.       #328)   filed    on     April    8,    2015.     Defendant    filed   a

Response/Objections (Doc. #329).              The Court held a hearing on June

3, 2015, with defendant present, and heard argument from counsel

and testimony from two witnesses.

      Defendant Gustavo Adolpho Leon objects not to the motion, but

to the amount of the reduction recommended by the government and

to    the    starting      point    for     the   reduction.     The     government

recommends a four level departure, with a starting level of 43.

The former Assistant U.S. Attorney handling the case would have

sought permission to request an eight level departure.                   Defendant

sought a 33-1/3% reduction in his response, and an 80% reduction

at the hearing.

      The     Court   is    not    bound    by    the   government’s   recommended

reduction, but has the authority to grant a reasonable reduction
Case 2:11-cr-00120-JLB-CM Document 342 Filed 06/09/15 Page 2 of 4 PageID 1092



based    upon    its   evaluation    of     factors    related     to    defendant’s

assistance.        United States v. Livesay, 525 F.3d 1081, 1091-92

(11th Cir. 2008)(“It remains true that after the government has

made a motion for downward departure pursuant to U.S.S.G. § 5K1.1,

the government has no control over whether and to what extent the

district court will depart from the Guidelines. [ ] The district

court's downward departure need only be reasonable.” (internal

citations      omitted)).   In    determining       the   extent   of    a   §    5K1.1

departure,      “the   district     court    must     consider     the    five    non-

exclusive § 5K1.1 factors, which are: (1) the usefulness of the

defendant's assistance; (2) the truthfulness and completeness of

the defendant's information and testimony; (3) the nature and

extent of the defendant's assistance; (4) any injury suffered or

risk of injury or danger to the defendant and his family as a

result    of     his   assistance;    and     (5)     the    timeliness      of     the

assistance.”       Livesay, 525 F.3d at 1092.               Other factors may be

considered only if they relate to the assistance provided by

defendant.       Id.   The same legal principles apply to a Rule 35(b)

motion.

      The Court finds that defendant’s assistance does qualify as

substantial assistance under Fed. R. Crim. P. 35(b) and 18 U.S.C.

§ 3553(e), and therefore defendant qualifies for a reduction in

sentence.       The Court heard testimony from the case agent and former




                                      - 2 -
Case 2:11-cr-00120-JLB-CM Document 342 Filed 06/09/15 Page 3 of 4 PageID 1093



AUSA who handled the case, who summarized defendant’s cooperation

locally, and reviewed a letter concerning defendant’s cooperation

in Arkansas.      After full consideration of the competing arguments,

the Court will start at level 42 to account for the Booker variance

and will grant a six level reduction based upon this cooperation.

This results in a Total Offense Level of 36, a Criminal History

Category of III, and a range of imprisonment of 235 to 293 months.

      The Court finds that a sentence of 235 months imprisonment is

sufficient, but not greater than necessary, to comply with the

purposes of sentencing as set forth in 18 U.S.C. § 3553(a) after

considering      defendant’s    substantial    assistance   and   reason   for

variance    in    addition     to   the   previously   considered   advisory

recommendation of the Sentencing Guidelines and all the factors

identified at 18 U.S.C. § 3553(a)(1)-(7).              All other components

of the original sentence shall remain as originally imposed.

      Accordingly, it is hereby

      ORDERED:

      1. The Government's Motion by the United States for Reduction

         in Sentence Pursuant to Fed. R. Crim. P. 35(b) (Doc. #465)

         is GRANTED as set forth above.

      2. The Clerk of the Court shall enter an amended judgment

         reducing the sentence imposed to 235 months imprisonment

         as to the above-named defendant, and otherwise leaving all




                                      - 3 -
Case 2:11-cr-00120-JLB-CM Document 342 Filed 06/09/15 Page 4 of 4 PageID 1094



         other   components    of   the     sentence   as   imposed   in   the

         previously entered judgment.

      DONE and ORDERED at Fort Myers, Florida, this            9th    day of

June, 2015.




                           JOHN E. STEELE
                           SENIOR UNITED STATES DISTRICT JUDGE




Copies:
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                                    - 4 -
